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             EXHIBIT D
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Aiken, Matthew G.

Subject:               Subpoena Duces Tecum served in connection to LD, et al. v. United Behavioral Health, et al., N.D. Cai.
                       Case No. 20-cv-02254-YGR
Location:              +18339284609,,4141275089# or +12133388477,,4141275089#

Start:                 Tue 4/15/2025 4:30 PM
End:                   Tue 4/15/2025 5:00 PM

Recurrence:            (none)

Meeting Status:        Meeting organizer

Organizer:         Aiken, Matthew G.
Required Attendees:Levi Y. Silver
Optional Attendees:Woody L. Doolittle; Ferraro, Justin F.; Tom.Kelly@AGG.com; Ritter-Wiseman, Jeremy B.


Hi Levi,

I am changing to an audioconference so that plaintiffs counsel can join the call as well. Please let me know if you have
any issues connecting.

Best,
Matthew




               Hi there,

               Matthew Aiken is inviting you to a scheduled personal audio conference.


               Join by Telephone
               Dial:                       833 928 4609 (United States Toll Free)
                                           +1 213 338 8477 (United States Toll)
                                           +1 301 715 8592 (United States Toll)
                                           +1 346 248 7799 (United States Toll)
                                           +1 646 518 9805 (United States Toll)
                                           +1 646 558 8656 (United States Toll)
                                           +1 669 219 2599 (United States Toll)
                                           +1 669 900 6833 (United States Toll)
                                           +1 720 928 9299 (United States Toll)
               Phone one-tap:              (United States Toll Free): 8339284609,,4141275089#




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                                                                                                                                                                      Conference ID:                                                                       414 127 5089


                                                                                                                                                                      Join via Web

                                                                                                                                                                      Conference URL:                                                                      https://gibsondunn.zoom.us/pac/join/4141275089




_____________________________________________
From: Levi Y. Silver <lsilver@swsslaw.com>
Sent: Friday, April 11, 2025 10:51 PM
To: Aiken, Matthew G. <MAiken@gibsondunn.com>
Cc: Woody L. Doolittle <wdoolittle@swsslaw.com>
Subject: RE: Subpoena Duces Tecum served in connection to LD, et al. v. United Behavioral Health, et al., N.D. Cai. Case
No. 20-cv-02254-YGR
Hi Matthew, Thanks. The objections are attached. Tuesday at 4: 30pm EST works for me. Please let me know if that time still works for you, in which case I will look forward to your call then at 619-238-4857. Thanks, Levi Levi Y. Silver | Litigation
ZjQcmQRYFpfptBannerStart




              This Message Is From an External Sender
              This message came from outside your organization.
ZjQcmQRYFpfptBannerEnd




Hi Matthew,

Thanks. The objections are attached. Tuesday at 4:30pm EST works for me. Please let me know if that time still
works for you, in which case I will look forward to your call then at 619-238-4857.

Thanks,

Levi

Levi Y. Silver | Litigation Chair
Solomon Ward Seidenwurm & Smith LLP
401 B Street Suite 1200 | San Diego, CA 92101
o 619.231.0303 | d 619.238.4857
lsilver@swsslaw.com | www.swsslaw.com | v-card

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From: Aiken, Matthew G. <MAiken@gibsondunn.com>
Sent: Friday, April 11, 2025 12:24 PM
To: Levi Y. Silver <lsilver@swsslaw.com>
Cc: Woody L. Doolittle <wdoolittle@swsslaw.com>
Subject: RE: Subpoena Duces Tecum served in connection to LD, et al. v. United Behavioral Health, et al., N.D. Cai. Case
No. 20-cv-02254-YGR

Hi Levi,

Thanks for reaching out. I will accept service of the objections. Recognizing the time difference, I am available to
discuss on Monday from 5 to 6 pm EST and Tuesday from 11 am to 6 pm EST. Please let me know if any of those times
will work for you.


                                                                                                                                                                                                                                                                             2
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Best,
Matthew

Matthew G. Aiken
Of Counsel

T: +1 202.887.3520
MAiken@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-5306




From: Levi Y. Silver <lsilver@swsslaw.com>
Sent: Friday, April 11, 2025 3:05 PM
To: Kraft, Derek K. <DKraft@gibsondunn.com>; Sigler, Geoffrey <GSigler@gibsondunn.com>; Richardson, Heather L.
<HRichardson@gibsondunn.com>; Lipton, Joshua <JLipton@gibsondunn.com>; Blas, Lauren M.
<LBlas@gibsondunn.com>; Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R.
<NMatthews@gibsondunn.com>
Cc: Woody L. Doolittle <wdoolittle@swsslaw.com>
Subject: Subpoena Duces Tecum served in connection to LD, et al. v. United Behavioral Health, et al., N.D. Cai. Case No.
20-cv-02254-YGR
Dear Counsel for United Behavioral Health and United Healthcare Insurance Company, I hope all is well. I will be representing Ocean Recovery in connection with the attached subpoenas. Please direct all documents and correspondences related to




Dear Counsel for United Behavioral Health and United Healthcare Insurance Company,

I hope all is well. I will be representing Ocean Recovery in connection with the attached subpoenas. Please direct
all documents and correspondences related to this matter to my attention.

I will be serving objections to the subpoenas today. Please kindly confirm by reply email that you will accept
service of the objections by email (sent to all recipients on this email chain).

Separately, please let me know your availability for a call to discuss the subpoenas.

Thanks,

Levi

Levi Y. Silver | Litigation Chair
Solomon Ward Seidenwurm & Smith LLP
401 B Street Suite 1200 | San Diego, CA 92101
o 619.231.0303 | d 619.238.4857
lsilver@swsslaw.com | www.swsslaw.com | v-card

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policy.




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